30 F.3d 128
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stanley CARNEY, Plaintiff Appellant,v.David K. SMITH, Defendant Appellee.
    No. 93-7249.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 17, 1994Decided:  July 26, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-93-821)
      Stanley Carney, Appellant Pro Se.
      Martha Murphey Parrish, Assistant Attorney General, Richmond, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED IN PART AND DISMISSED IN PART.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his request for a temporary restraining order and for preliminary injunctive relief.
    
    
      2
      This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The portion of the district court's order denying Appellant's request for a temporary restraining order is neither a final order nor an appealable interlocutory or collateral order.  Thus, we dismiss this portion of the appeal for lack of jurisdiction because the order is interlocutory and not appealable.
    
    
      3
      The denial of injunctive relief may be immediately appealed.  See 28 U.S.C. Sec. 1292(a) (1988).  Our review of the record and the district court's opinion discloses that this portion of the appeal is without merit.  Accordingly, finding no abuse of discretion, we affirm the denial of injunctive relief on the reasoning of the district court.  Carney v. Smith, No. CA-93-821 (W.D.Va. Nov. 3, 1993).
    
    
      4
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      AFFIRMED IN PART AND DISMISSED IN PART.
    
    